         Case 1:17-cr-00548-PAC Document 443
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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    December 2, 2020
                                                                12/9/2020
By ECF                                                          MCC's objection is overruled. The
                                                                defendant's circumstances are so
The Honorable Paul A. Crotty                                    unique that they cannot constitute a
United States District Judge                                    precedent in any way. SO
Southern District of New York                                   ORDERED.
500 Pearl Street, Courtroom 14C
New York, New York 10007

       Re:    United States v. Joshua Adam Schulte, S3 17 Cr. 548 (PAC)

Dear Judge Crotty:

        The Government writes in connection with the Court’s November 25, 2020 order directing
the Metropolitan Correctional Center (the “MCC”) to arrange for one video-teleconference (a
“VTC”) a month between the defendant and his family on the first Friday of each month. While
the Government does not take a position on the defense request for a social VTC, the Government
has conferred with counsel for the MCC, who has asked the Government to relay MCC’s objection
to the defense’s request. In particular, MCC believes that

       allowing an inmate to have social video calls will put pressure on the MCC to allow
       other inmates to have social video calls the Bureau of Prisons (“BOP”) cannot
       accommodate. It will also be much more difficult for us to arrange for the requisite
       FBI and BOP monitoring required by the SAMs at this stage in the pandemic.
       Finally, BOP has a strong interest in implementing uniform privileges for its
       inmates. Granting the defendant’s request would only encourage other inmates to
       try to prevail on their attorneys to clog the courts with requests for relief. The
       Government is always ready and willing to work with defense counsel to resolve
       reasonable requests to BOP. This request, however, seeks special treatment where
       none is warranted. The judiciary should not accept the defendant’s invitation to
       micro-manage the decisions rendered by prison officials in the executive branch.
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The Honorable Paul A. Crotty, U.S.D.J.
December 2, 2020
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       The Government has also consulted with the FBI, who will have agents available to
monitor any VTC that the Court orders.

                                               Respectfully submitted,

                                               AUDREY STRAUSS
                                               Acting United States Attorney

                                           by: ____/s/______________________________
                                               Matthew Laroche / Sidhardha Kamaraju /
                                               David W. Denton, Jr.
                                               Assistant United States Attorneys
                                               (212) 637-2420 / 6523 / 2744

cc: Defense Counsel (by ECF)
